Case 2:20-cv-02570-AMD-SIL Document 107 Filed 04/09/24 Page 1 of 1 PageID #: 892




                                                       April 9, 2024

 Via ECF
 The Honorable Steven I. Locke
 United States Magistrate Judge for the
 Eastern District of New York
 100 Federal Plaza
 Central Islip, New York 11722

        Re:     Valdez v. MichPat & Fam, LLC, et al., Case No.: 2:20-cv-02570-AMD-SIL

 Dear Judge Locke:

         As Your Honor may recall, on March 18, 2024, the parties submitted to Your Honor a
 Stipulation to Decertify the Certified Class Action (“Stipulation”). ECF 105. On March 19, 2024,
 Your Honor so-ordered said Stipulation. ECF 106.

         Pursuant to the Stipulation, the parties, inter alia, agreed to mail out the “Decertification
 Notice to Class Members” that was attached as an exhibit to the Stipulation within 30 days of the
 Stipulation being so-ordered, by April 18, 2024. The parties further agreed to notify the Court so
 that the Court can issue an order dismissing the action and closing the case. By and through this
 correspondence, the parties are doing just that. All notices have been mailed out to all class
 members, as such, we respectfully request that Your Honor dismiss this action and close this case.

        We thank the Court for its attention to this matter.

                                                       Respectfully submitted,




                                                       Michael J. Borrelli, Esq. (MB 8533)
                                                                For the Firm

 C:     All Counsel via ECF
